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                           Exhibit 9
         Case 8:19-cv-01837-RGK-ADS Document 44-9 Filed 02/10/20 Page 2 of 3 Page ID #:1588
Print :: Workspace Webmail



   FW: Proprietary Information Agreement (PIA).for the Studies
   Statement of Work (SOW)
   "Tarek Fouad" [tfouad@
   Sent: 8/16/2015 8:35 PM
   To:     ""Mohd Al-Mannai"" <almannaimohd@gmail.com>,                      @soulasystems.com>



   Salam Gentlemen,

   I received the email below from Raytheon’s procurement for the study. My recommendation is we tell them we
   will pass on this project. I will reply to George once I have received your agreement with my recommendation.

   Regards,
   Tarek
   From: George                   @raytheon.com>
   Date: Sunday, August 16, 2015 at 5:27 AM
   To: <tfouad@                   >
   Subject: Proprietary Information Agreement (PIA).for the Studies Statement of Work (SOW)

   Tarek,

   (See attached file: PIA_AVYARA14May2015.pdf)

   Our office it trying to contact you regarding the enclosed Proprietary Information Agreement
   (PIA), and the Studies Activity. Please provide your cell telephone number. Is your office
   number 974-4428-4428?

   Please review the PIA and provide any corrections that are needed. After the PIA is signed, the
   Study Statement of Work (SOW) will be sent to your office. (NOTE: Because the SOW is
   marked proprietary, the SOW cannot be forwarded to your office until the PIA is signed.)

   We look forward to working with you. Please verify that Avaya Information Systems is still
   interested in supporting the Studies. Thank you for your assistance.

   Best Regards,

          George
                   -
         Supply Chain Management
         Thales-Raytheon Systems Company LLC
         1801 Hughes Drive
         Fullerton, California 92834



      -  (714) 446-4767
                 @raytheon.com

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   mail or phone. Any unauthorized use, dissemination, disclosure, copying, or printing is strictly prohibited
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   Control Act. This data has been provided in accordance with, and is subject to, International Traffic in
   Arms Regulations (ITAR). By accepting this data, the consignee agrees to honor the requirements of the
   ITAR.


   Attachments:          PIA_AVYARA14May2015.pdf
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